         Case 1:18-cr-00149-DLC Document 51 Filed 03/08/22 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION

 UNITED STATES OF AMERICA,                          CR 18–85–BLG–DLC
                                                    CR 18–149–BLG–DLC
                      Plaintiff,

 vs.
                                                            ORDER
 LARRY WAYNE PRICE, JR., aka L.J.
 Price,

                       Defendant.

       Before the Court is the United States’ Unopposed Motion for Distribution

and Credit of Court Registry Funds From the Sale of Lots 1, 2, and 3, Block 1,

Price Subdivision. (Doc. 145.) The Court previously approved the parties’

Stipulation (Doc. 140-1) providing that the $1.7 million deposited into the Court

Registry from the sale of Lots 1, 2, and 3, plus any interest accrued to the date of

the release by the Court Registry, and less the fees deducted by the Administrative

Office of the United States Courts pursuant to Court order (Doc. 127), shall be

disbursed to the Clerk of Court to be applied (1) one-half to restitution owing to

90M, and (2) one-half to restitution owing to the individual members of Three

Blind Mice, LLC (17% to Stephen Casher, 17% to Dr. Robert Schlidt, and 66% to

Dr. Raoul Joubran). (Doc. 143.) The United States now moves for distribution of

these funds in accordance with the stipulation. (Doc. 145.) Neither Defendant

                                          1
        Case 1:18-cr-00149-DLC Document 51 Filed 03/08/22 Page 2 of 2



Larry Wayne Price, Jr., nor counsel for the victims objects to the United States’

motion. (Id. at 3.)

      Accordingly, IT IS ORDERED that the motion (Doc. 145) is GRANTED.

The Clerk of Court shall withdraw the Court Registry funds, after deducting

expenses and adding interest, to the date that the Clerk of Court withdraws said

funds, and 50% of the funds shall be disbursed to restitution owing to 90M, and

50% of the registry funds shall be disbursed to restitution owing to the individual

members of Three Blind Mice (the “Three Blind Mice Funds”), with 17% of the

Three Blind Mice Funds being disbursed to Stephen Casher, 17% of the Three

Blind Mice Funds being disbursed to Dr. Robert Schlidt, and 66% of the Three

Blind Mice Funds being disbursed to Dr. Raoul Joubran.

      The United States shall further provide the appropriate tax identification

numbers under seal prior to disbursement.

      DATED this 8th day of March, 2022.




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